        Case 7:21-cv-00465-LSC Document 88 Filed 01/14/22 Page 1 of 2                  FILED
                                                                              2022 Jan-14 AM 07:37
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                      WESTERN DIVISION


STATE OF WEST VIRGINIA, et al.,             Case No. 7:21-cv-00465-LSC

                   Plaintiffs,

          v.

U.S. DEPARTMENT OF THE
TREASURY, et al.,

                   Defendants.


                            NOTICE OF APPEAL

      Notice is hereby given that Defendants the United States Department
of the Treasury, Janet Yellen, in her official capacity as Secretary of the Treas-
ury, and Richard K. Delmar, in his official capacity as Acting Inspector Gen-
eral of the Department of the Treasury, appeal to the United States Court of
Appeals for the Eleventh Circuit from this Court’s Judgment (Docket No. 83)
and Memorandum of Opinion (Docket No. 82) entered November 15, 2021.




                                        1
      Case 7:21-cv-00465-LSC Document 88 Filed 01/14/22 Page 2 of 2




DATED: January 14, 2022       Respectfully submitted,

                              BRIAN M. BOYNTON
                              Acting Assistant Attorney General

                              BRIAN D. NETTER
                              Deputy Assistant Attorney General

                              ALEXANDER K. HAAS
                              Director, Federal Programs Branch

                              BRIGHAM J. BOWEN
                              Assistant Director, Federal Programs Branch

                              /s/ Charles E.T. Roberts
                              MICHAEL P. CLENDENEN
                              STEPHEN EHRLICH
                              CHARLES E.T. ROBERTS
                              Trial Attorneys
                              Civil Division, Federal Programs Branch
                              U.S. Department of Justice
                              1100 L Street, NW
                              Washington, DC 20005
                              Phone: (202) 305-8628
                              Email: charles.e.roberts@usdoj.gov

                              Counsel for Defendants




                                   2
